          Case 1:25-cv-00997-SLS       Document 1-1    Filed 04/03/25    Page 1 of 5
                                                                                           Exhibit

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                                                                                           1:25-cv-997




                                    WEDNESDAY, MARCH 8, 2023




Dear Peter,

JMA Resources (the “Company”) is pleased to offer you a full-time position as the Vice
President of Business Development, with your employment commencing on or about March
27, 2023, contingent on the successful completion of a background check. This offer and your
employment relationship with the Company are subject to the terms and conditions of this
letter (“Offer Letter:”).

In your position as the Vice President of Business Development, you will report to Nancy
Martindell. You will be expected to carry out duties and responsibilities, including:
    Proactively identify new business opportunities.
    Assess and develop new and existing corporate growth opportunities.
    Build business relationships.
    Manage and support the proposal process.
    Support writing proposals.
    Experience building strategies that preserve/increase market share, ensure employee
    utilization and increase our participation on teams.
    Develop and improve business growth strategies with the Vice President of Growth and
    executive leadership.
    Perform market research to qualify new business opportunities, including analysis of
    customer budgets, capabilities required, current customer preferences, competitive
    environment assessments, and incumbent strengths and weaknesses.
    Coordinate and conduct meetings with customers, competitors, clients, and teammates to
    develop market insight on requirements, acquisition strategy, acquisition timing, and
    contract vehicle choices.
    Lead business development process, including pipeline reviews, opportunity gate reviews,
    black hat sessions, successful transition to capture and proposal phases, assist with
    capture activities when necessary, and assist with proposal development.
    Collaborate with operations leads, the Vice President of Growth, and line management to
    support cross-enterprise objectives and customer engagement.
          Case 1:25-cv-00997-SLS       Document 1-1         Filed 04/03/25   Page 2 of 5


    Support overall strategic planning and linking pursuits/capture activities that support the
    business development metrics for awards, submits, and pipeline.
    Interact routinely with various levels of management, marketing, operations and functional
    leads, other staff, and customers.
    Brief business development status to senior management.
    Lead the development, organization, and execution of significant business development
    activities, including building industry teams, assessing win probability, and executing
    customer call plans.
    Developed and cultivate partner/teaming relationships with external teaming partners.
    Perform other related duties as assigned.

The Company, however, reserves the right to change your title, duties, work location, and
reporting relationships from time to time as it deems necessary or appropriate.

If you decide to join us to work on this assignment, you will be compensated as follows:

Base Salary: Your annual salary will be $180,000 per year, subject to deductions for taxes and
other withholdings as required by law or the policies of the Company, which will be paid in
semimonthly installments per the Company's payroll procedures. For the first year, you will
meet with the Company President, Nancy Martindell, quarterly to discuss progress and
strategy. By the 4th Quarter of year 1, you will work with Nancy to develop a new commission
plan to begin the start of Year 2. This position is a full-time, exempt position and requires you
to regularly and accurately record your hours worked daily for payroll administration purposes.

In the event there is a change in the Company's ownership or reorganization that directly
causes the termination of your employment for reasons other than cause (defined below)
within thirty (30) days following the change of ownership, JMA agrees to provide you with a
minimum of four (4) months' notice to include full salary and compensation package. Cause
defined as:
     Failure to perform the employee's job duties.
    Failure to comply with any valid and legal directive.
    Engagement in dishonesty, illegal conduct, or other conduct which is injurious to the
    Company.
    Embezzlement, misappropriation, or fraud, whether or not related to the employee's
    employment with the Company.
    Conviction of or plea of guilty or nolo contendere to a crime that constitutes a felony (or
    state law equivalent) or a crime that constitutes a misdemeanor involving moral turpitude.
          Case 1:25-cv-00997-SLS       Document 1-1      Filed 04/03/25    Page 3 of 5


    Violation of the Company's written policies or codes of conduct, including written policies
    related to discrimination, harassment, the performance of illegal or unethical activities, and
    ethical misconduct.
    Engagement in conduct that brings or is reasonably likely to bring the Company negative
    publicity, public disgrace, embarrassment, or disrepute.

SIMPLE IRA Retirement: Additionally, you will be eligible to participate in the Company
SIMPLE IRA with a 3% company match beginning on the first payroll date of the quarter
following your start date.

Holidays and Paid Time Off (PTO): You will be paid for all eleven U.S. federal holidays.
After 30 days of continuous service, you will be eligible for Flexible Paid Time Off (Flex PTO).
Flex PTO takes the place of vacation, sick, and personal days. You may take as much time off
as you would like as long as you fulfill your duties and obtain approval from your manager.
More detail can be found in the Company handbook.

Company Health Insurance: The Company offers group medical, dental, and vision benefits
to its full-time employees. The Company will cover 100% of the employee and 50% of spouse,
child(ren)’s monthly Medical premium. For dental and vision, the Company will cover 100% of
the monthly premium for employee, spouse, and child(ren).

Company Life/Disability/Short-and Long-Term Insurance: The Company provides life
insurance (equal to the annual salary up to a maximum of $200,000), Accidental Death and
Dismemberment, and short- and long-term disability insurance to its full-time employees at
zero cost to you. You will have the option to add voluntary life insurance. If you opt for
voluntary life insurance, you will pay the full cost of coverage through semi-monthly payroll
deductions.

All employee benefits are subject to periodic company review and can be changed with or
without notice.

While we look forward to a productive and enjoyable work relationship, should you decide to
accept our offer, you will be an at-will employee of the Company. This means the employment
relationship is voluntarily entered into by mutual consent of the employee and the Company, is
not for a specified period of time, and can be terminated by either the employee or the
Company for any reason at any time, with or without cause or advance notice.

This at-will employment status cannot be modified except in a written document signed by you
and the President of the Company.
          Case 1:25-cv-00997-SLS       Document 1-1     Filed 04/03/25    Page 4 of 5




As an employee of the Company, you will be expected to abide by the Company’s rules,
regulations, policies, and procedures as communicated to you from time to time. You will also
be expected to sign and comply with the Company Employee Handbook as a condition of this
offer and your employment.

In your work for the Company, you will be expected not to use or disclose any confidential
information, including trade secrets, of any former employer or another person to whom you
have an obligation of confidentiality. You should use only that information which is generally
known and used by persons with training and experience comparable to your own, which is
common knowledge in the industry or otherwise legally in the public domain, or which is
otherwise provided or developed by the Company. By accepting this offer of employment and
signing this Offer Letter, you acknowledge that you will be able to perform those duties within
these guidelines.

You agree that you will not bring onto the Company’s premises or use in your work for the
Company any confidential documents or property belonging to any former employer or another
person to whom you have an obligation of confidentiality.

To indicate your acceptance of our offer under the terms described above, please sign and
date this Offer Letter in the space provided below and return it to me no later than March 10,
2023. This letter, along with the Company Employee Handbook, sets forth the complete and
exclusive terms of your employment with the Company and supersedes any prior
representations or agreements, whether written or oral. This Offer Letter may not be modified
or amended except in writing, signed by you and the Company.

We look forward to your favorable reply and working with you at JMA Resources.

Sincerely,
Nancy Martindell, President
JMA Resources, Inc.
            Case 1:25-cv-00997-SLS       Document 1-1     Filed 04/03/25   Page 5 of 5


Offer Letter Acceptance
I have read and accept this offer of employment:




                                             03/10/2023
Peter Butturini                              Date
